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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
────────────────────────────────────
MARIA J. AYALA,

                        Plaintiff,                 19-cv-10214 (JGK)

             - against -                           ORDER

SEPHORA and JENNIFER RIVERA,

                    Defendants.
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JOHN G. KOELTL, District Judge:

             In view of the upcoming mediation, the pre-motion

conference scheduled for January 12, 2021 is canceled.             The

parties should report to the Court within 7 days of the

conclusion of the mediation.         If the case has not been settled,

the defendant should answer or move with respect to the amended

complaint within 21 days of the conclusion of the mediation.             No

pre-motion conference is needed.         If the defendant files a

motion to dismiss, the plaintiff should respond 21 days

thereafter, and the defendant may reply 10 days after the

response.     If the defendant files an answer, the parties should

submit a Rule 26(f) report 14 days thereafter.

SO ORDERED.

Dated:       New York, New York
             January 11, 2021           ______/s/ John G. Koeltl_______
                                               John G. Koeltl
                                         United States District Judge
